           Case 3:11-cr-05497-WQH                       Document 45                 Filed 12/21/11            PageID.116              Page 1 of 2


     'AO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
                Sheet 1

                                                                                                                    ~
                                             UNITED STATES DISTRICT COURT

                     UNITED STATES OF AMERICA
                                        v.
                   RICARDO HERNANDEZ-LOPEZ (3)                                      Case Number: llCR5497·WQH
                                                                                    PAUL BLAKE, OA
                                                                                    Defendant's Attorney
     REGlSTRATION NO. 29094298

    o
     THE DEFENDANT:
     l8J pleaded guilty to count(s) _3_0_F_T_H_E_IN_F_O_RM_A_T_I_O_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                        Nature of Offense                                                                               Number(sl
8 USC 1326                            ATTEMPTED ENTRY AFTER DEPORTA nON




        The defendant is sentenced as provided in pages 2 through               2         of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
 o Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _----------------------------
                                       _ _ _ _ _ _ is 0 areD dismissed on the motion of the United States.
 I8J Assessment: $100.00

 I8J Fine waived                                  0       Forfeiture pursuant to order filed                                  , included herein.
      IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                             DECEMBER 19, 2011




                                                                            UNITED STATES DISTRl

                                                                                                                                           llCR5497-WQH
    Case 3:11-cr-05497-WQH                         Document 45         Filed 12/21/11     PageID.117          Page 2 of 2


AO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                           Judgment - Page _ _2_ of          2
DEFENDANT: RICARDO HERNANDEZ-LOPEZ (3)
CASE NUMBER: llCR5497.WQH
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         6 months



    o Sentence imposed pursuant to Title 8 USC Section I326(b).
    18I The court makes the following recommendations to the Bureau of Prisons:
         That the defendant be designated to a facility in the Western Region




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ _ __
              as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o before - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                            RETURN

I have executed this judgment as follows:

       Defendant delivered on                                                   to ________________________________

at _________________ ' with a certified copy of this judgment.


                                                                                        UNITED STATES MARSHAL


                                                                   By ______~~~~~~~~~~---------
                                                                                    DEPUTY UNITED STATES MARSHAL




                                                                                                                llCR5497-WQH
